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                         EXHIBIT A
        Case 8:19-cv-01257-JFW-PJW Document 32-1 Filed 08/19/19 Page 2 of 2 Page ID #:199
                         Secretary of State                                                         LLC-12                                     18-D72108
                         Statement of Information
                         (Limited Liability Company)                                                                                            FILED
                                                                                                                                In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                            of the State of California

 Filing Fee – $2 .00
                                                                                                                                               NOV 08, 2018
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  UNIFIED DOCUMENT SERVICES LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             201812710088                                               DELAWARE
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                    State    Zip Code
 1560 Brookhollow Dr. Ste. 220                                                                       Santa Ana                                                  CA       92705
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                    State    Zip Code
 1560 Brookhollow Dr. Ste. 220                                                                       Santa Ana                                                  CA       92705
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                    State    Zip Code
 1560 Brookhollow Dr. Ste. 220                                                                       Santa Ana                                                   CA       92705
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                   Last Name                                         Suffix
  Micah                                                                                                                           Katz
 b. Entity Name - Do not complete Item 5a


 c. Address                                                                                          City (no abbreviations)                                    State    Zip Code
  1560 Brookhollow Dr. Ste. 220                                                                      Santa Ana                                                  CA      92705
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                   Last Name                                         Suffix
 Micah                                                                                                                            Katz
 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                    State    Zip Code
 1560 Brookhollow Dr. Ste. 220                                                                       Santa Ana                                                   CA        92705
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b



 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Document Processing Service
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                   Last Name                                         Suffix
 Micah                                                                                                                             Katz
 b. Address                                                                                          City (no abbreviations)                                    State    Zip Code
 1560 Brookhollow Dr. Ste. 220                                                                       Santa Ana                                                   CA      92705
 9. The Information contained herein, including any attachments, is true and correct.

   11/08/2018                    Micah Katz                                                                          Owner
  _____________________            ____________________________________________________________                     _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:

Company:

Address:
City/State/Zip:

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                                                                                                                                                   www.sos.ca.gov/business/be
